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                                  8                                   UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                              SAN JOSE DIVISION
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                                  12     UNITED STATES OF AMERICA,                           Case No. 16-CR-00519-LHK-1
Northern District of California
 United States District Court




                                  13                    Plaintiff,                           ORDER DENYING GOVERNMENT’S
                                                                                             MOTION IN LIMINE RE: ADMISSION
                                  14             v.                                          OF WESTERN UNION SPREADSHEET
                                  15     JOHNNY RAY WOLFENBARGER,                            Re: Dkt. No. 293
                                  16                    Defendant.

                                  17
                                  18          Before the Court is the government’s motion in limine to admit a “spreadsheet containing
                                  19   records of Western Union [m]oney transfers,” which the government filed on April 1, 2020. ECF
                                  20   No. 293 (“Mot”) at 1. Because the spreadsheet contains personally identifiable information, the
                                  21   spreadsheet was submitted electronically for the Court’s review under seal. See ECF No. 300.
                                  22   Defendant filed an opposition on April 8, 2020. ECF No. 302 (“Opp’n”). Having considered the
                                  23   filings of the parties, the relevant law, and the record in this case, the Court DENIES the
                                  24   government's motion in limine.
                                  25          Because the government seeks to introduce these records for the truth of the matter
                                  26   asserted, the rule against hearsay bars their admission unless an exception or exclusion applies.
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                                  28   Case No. 16-CR-00519-LHK-1
                                       ORDER DENYING GOVERNMENT’S MOTION IN LIMINE RE: ADMISSION OF WESTERN UNION
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                                  1    Fed. R. Evid. 802; see United States v. Arteaga, 117 F.3d 388, 395 (9th Cir. 1997) (explaining that

                                  2    Western Union records included both explicit and implicit assertions subject to the rule against

                                  3    hearsay, such as the amount that was sent and the identity of the recipient). Thus, the government

                                  4    seeks to admit the spreadsheet pursuant to Federal Rules of Evidence 803(6) and 902(11).

                                  5            Rule 803(6), the “business records” provision, provides a hearsay exception for “records of

                                  6    a regularly conducted activity.” The provisions of Rule 803(6) incorporated by Rule 902(11)

                                  7    require that:

                                  8            (A) the record was made at or near the time by — or from information transmitted
                                               by — someone with knowledge;
                                  9
                                               (B) the record was kept in the course of a regularly conducted activity of a business,
                                  10           organization, occupation, or calling, whether or not for profit;
                                               (C) making the record was a regular practice of that activity;
                                  11
                                               (D) all these conditions are shown by the testimony of the custodian or another
                                  12           qualified witness, or by a certification that complies with Rule 902(11) or (12) or
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                                               with a statute permitting certification; and
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                                  13
                                               (E) the opponent does not show that the source of information or the method or
                                  14           circumstances of preparation indicate a lack of trustworthiness.
                                       Fed. R. Evid. 803(6)(A)–(E). As Rule 803(6)(D) specifies, the party seeking admission of a
                                  15
                                       business record must either have a custodian or other qualified witness testify as to the Rule
                                  16
                                       803(6)(A)–(C) conditions, or have the record be “self-authenticating” pursuant to Rule 902(11) or
                                  17
                                       (12).
                                  18
                                               In turn, Rule 902(11) allows the admission of “self-authenticating” business records
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                                       without further “extrinsic evidence of authenticity.” To qualify, the original or copy of the
                                  20
                                       domestic record must have “a certification of the custodian or another qualified person” that shows
                                  21
                                       that the record “meets the requirements of Rule 803(6)(A)–(C).” Fed. R. Evid. 902(11). The
                                  22
                                       required “certification” may take the form of a declaration that satisfies 28 U.S.C. § 1746, or any
                                  23
                                       comparable certification under oath. Fed. R. Evid. 902 advisory committee’s note to the 2000
                                  24
                                       Amendments; see also SEC v. Franklin, 348 F. Supp. 2d 1159, 1164 (S.D. Cal. 2004) (explaining
                                  25
                                       that a Rule 902(11) certification may be a 28 U.S.C. § 1746 declaration).
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                                  28   Case No. 16-CR-00519-LHK-1
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                                  1           Here, the Western Union Certificate of Authenticity of Business Records (“Certificate”)

                                  2    merely states that each of the attached records is “the original or a duplicate of the original records

                                  3    in the custody of Western Union.” ECF No. 293-1. The Certificate conclusorily states that “these

                                  4    records were made, at or near the time of the occurrence of the matters set forth, by (or from

                                  5    information transmitted by) a person with knowledge of those matters; these records were kept in

                                  6    the course of regularly conducted business activity; and it was the regular practice of this business

                                  7    to make such records.” Id.

                                  8           The Certificate fails to distinguish between the spreadsheet and the underlying data or

                                  9    records from which the spreadsheet was created. The Certificate fails to identify the source of the

                                  10   information within the spreadsheet and the source of any underlying data or records as required by

                                  11   Rule 803(6)(E). The Certificate fails to identify the method or circumstances of the preparation of

                                  12   the spreadsheet or its underlying data or records as required by Rule 803(6)(E). Because the
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                                  13   government has failed to establish that the spreadsheet satisfies the requirements of Rule

                                  14   803(6)(E), the Court DENIES the government’s motion.

                                  15   IT IS SO ORDERED.

                                  16
                                  17   Dated: June 4, 2020

                                  18                                                    ______________________________________
                                                                                        LUCY H. KOH
                                  19                                                    United States District Judge
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                                  28   Case No. 16-CR-00519-LHK-1
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